              Case 2:16-cr-00134-DAD Document 104 Filed 03/07/17 Page 1 of 3



 1   KYLE R. KNAPP (SBN 166597)
     ATTORNEY AT LAW
 2
     1120 D Street, Suite 100
 3   Sacramento, CA. 95814
     Tel. (916) 441-4717
 4   Fax (916) 441-4299
     E-Mail: kyleknapp@sbcglobal.net
 5

 6   Attorney for Defendant
     SEAN CHAICHANHDA
 7

 8                        IN THE UNITED STATES DISTRICT COURT FOR THE

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                       )       No. 16-CR-00134-KJM
                                                     )
12                                                   )
            Plaintiff,                               )       STIPULATION AND
13                                                   )       [PROPOSED] ORDER REGARDING
     v.                                              )       SPECIAL CONDITIONS OF PRETRIAL
14                                                   )       RELEASE
     SEAN CHAICHANHDA,                               )
15                                                   )
                                                     )       Date: n/a
16                                                   )       Time: n/a
            Defendants.                              )       Judge: Honorable Carolyn K. Delaney
17                                                   )
                                                     )
18

19

20          After conferring with Pretrial Services; by stipulation, Defendant seeks to add provisions
21   15 & 16 to the Court’s previously issued Pretrial Release Order issued by the Hon. Allison
22   Claire on March 3, 2017.
23          15.      You must participate in the Better Choices court program and comply with all
24   the rules and regulations of the program. You must remain in the program until released by a
25   pretrial services officer. In accordance with this condition, you must appear before the
26   Honorable Allison Claire, courtroom 26, on Tuesday, March 21, 2017 at 10:30 AM; and
27          16.          You must not associate or have any contact with co-defendants unless in the
28   presence of counsel or otherwise approved in advance by the pretrial services officer.


                                                         1
              Case 2:16-cr-00134-DAD Document 104 Filed 03/07/17 Page 2 of 3



 1          IT IS HEREBY stipulated between the United States of America through its undersigned
 2   counsel, Richard Bender, Assistant United States Attorney, attorney for plaintiff and Kyle
 3   Knapp, attorney for defendant SEAN CHAICHANDA; that the above two Special Conditions
 4   of Release be added to the previously issued release conditions.
 5          All other terms and conditions of release remain in place.
 6   IT IS SO STIPULATED.
 7
     Dated: March 6, 2017                                        PHILLIP A. TALBERT
 8                                                               UNITED STATES ATTORNEY

 9                                                       by:     /s/ Richard Bender
                                                                 RICHARD BENDER
10
                                                                 Assistant U.S. Attorney
11                                                               Attorney for Plaintiff

12   Dated: March 6, 2017                                        /s/ Kyle R. Knapp
13
                                                                 KYLE KNAPP
                                                                 Attorney for Defendant
14                                                               SEAN CHAICHANHDA
15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                                     2
              Case 2:16-cr-00134-DAD Document 104 Filed 03/07/17 Page 3 of 3



 1
                                         [PROPOSED] ORDER
 2
            The Stipulation of the parties is hereby accepted and the Special Conditions of Release
 3
     for Mr. Chaichanhda are modified to include the following provisions:
 4
            15.      You must participate in the Better Choices court program and comply with all
 5
     the rules and regulations of the program. You must remain in the program until released by a
 6
     pretrial services officer. In accordance with this condition, you must appear before the
 7
     Honorable Allison Claire, courtroom 26, on Tuesday, March 21, 2017 at 10:30 AM; and
 8
            16.      You must not associate or have any contact with co-defendants unless in the
 9
     presence of counsel or otherwise approved in advance by the pretrial services officer.
10

11

12          IT IS SO ORDERED.

13   Dated: March 7, 2017
14
                                                     _____________________________________
                                                     CAROLYN K. DELANEY
15                                                   UNITED STATES MAGISTRATE JUDGE
16

17

18

19

20

21

22

23

24

25

26

27

28




                                                     3
